    Case: 4:11-cr-00101-DCN Doc #: 709 Filed: 02/28/13 1 of 2. PageID #: 6253




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



                                               )      CASE NO.       4:11 CR 101
UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )      JUDGE DONALD C. NUGENT
                                               )
       v.                                      )
                                               )
DERRICK JOHNSON, JR.,                          )      MEMORANDUM OPINION
                                               )          AND ORDER
               Defendant.                      )




       This matter comes before the Court upon Defendant, Derrick Johnson’s Motion to

Correct Sentence Pursuant to Federal Criminal Rule 35. (ECF #646). Mr. Johnson, through his

counsel, claims that he was erroneously sentenced for Count 7 of the Indictment under 18 U.S.C.

§924(c)(1)(A)(iii), and that his sentence on this count should have been calculated based on a

violation of 18 U.S.C. § 924 (c)(1)(A)(i). Subsection (i) carries a five year mandatory minimum

sentence, rather than the ten year mandatory minimum sentence required under subsection (iii).

In addition, Mr. Johnson argues that for Count 32 his sentence should also have been based on a

violation of 18 U.S.C. §924(c)(i)(A)(i) rather than 18 U.S.C. § 924(c)(a)(C)(i). Subsection

(c)(1)(C)(i) carries a twenty-five year mandatory minimum in the case of second or subsequent

convictions under the statute. These arguments were raised, argued, and addressed at Mr.

Johnson’s sentencing.       (Sentencing Tr. At 18-29, 58-59). The current motion presents no new

information that would impact Mr. Johnson’s sentence, and all of the relevant information

relating to Mr. Johnson’s motion was taken into consideration by the Court when his sentence
    Case: 4:11-cr-00101-DCN Doc #: 709 Filed: 02/28/13 2 of 2. PageID #: 6254




was imposed. The Court found at sentencing that the jury’s verdict, and the evidence presented

at trial supported a sentence under 18 U.S.C. §924(c)(1)(A)(iii) for Count 7, and under 18

U.S.C. §924 (c)(1)(C)(i) for Count 32. For this reason, and all other reasons previously

discussed at his sentencing, Defendant’s Motion (ECF #646) is DENIED.




                                                      /s/ Donald C. Nugent
                                                    DONALD C. NUGENT
                                                    United States District Judge

DATED: February 27, 2013




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